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U_S. V' Detric l\/chowan `CR NO_ 3:09-cr-43-2(CAR)

 

 

Copies of this document handed to defendant and counsel in the courtroom on

02/02/2011 _ By L. PurViS Deputy C,e,¢k,

 

 

Unless you have waived your right to appeal in a plea agreement or otherwise, the
following information will be helpful in determining your rights to appeal to the Eleventh
Circuit Court of Appeals.

18 U.S.C. § 3742(a), a law passed by Congress, states under what circumstances
a defendant who has been sentenced may appeal For you information it states:

a) Appeal by a Defendant. A defendant may file a notice of appeal in the
District Court for review of an otherwise final sentence if the sentence:
(t) Was imposed in violation of law;
(2) Was imposed as a result of an incorrect application of the
sentence guidelines; or
(3) ls greater than the sentence specified in the applicable guideline
range to the extent that the sentence includes a greater fine or term
of imprisonment probation, or supervised release than the maximum
established in the guideline range, or includes a more limiting
condition of probation or supervised release under Section 3563(b)(6)
or (b)(i 1) than the maximum established in the guideline range;
(4) Was imposed for an offense for which there is no sentencing

guideline and is plainly reasonable

 

 

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Rule 4 of the Federal Rules of Appellate Procedure provides that a notice of appeal
must be filed in a United States District Court within fourteen (14) days afterthe entry of the
judgment or fourteen (14) days after the government files a notice of appeal.

|f vou are represented bv court-appointed counsel and wish to appeal, it is the
responsibility of court~appointed counsel to file a notice of appeal and to represent you
upon appeal until relieved of that responsibility by the Unites States Court of Appeals for
the Eleventh Circuit. You may also file a notice of appeal or request the clerk’s oche to do
so. Nevertheless, an appeal must be filed within fourteen (14) days after the entry of the
written judgment

lf vou are represented bv retained (paid by you, family, or a friend) counsel and wish

 

to appeal, Eleventh Circuit Court of Appea|s rule 46-1 makes it counsel’s responsibility to
represent you upon appeal until relieved of that responsibility by the Circuit Court of
Appeals. The time within which a notice of appeal must be Hled is the same, that is

fourteen (14) days after entry of a written judgment

 

 

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CR]IV.[INAL APPEALS JURISDICTION CHECKLIST

Appealable orders: Courts of Appeals have jurisdiction conferred and strictly limited by

(a)

(b)

(C)

statute.

Appeals from final orders pursuant to 28 U.S.C. §1291: Subject to certain limited
exceptions, a defendant must await the entry of a final judgment of conviction
following sentencing prior to taking an appeal. United States v. Curry, 760 F.Zd
1079, 1079 (11"1 Cir. 1985); United States v. Gulledge, 739 F.2d 582, 584 (11"‘Cir.
1984). A notice of appeal filed after the announcement of sentence but before the
entry ofthejudgment and commitment order becomes effective upon the entry of the
judgment and commitment order. Fed.R.App.P. 4(b)(2).

Appeals pursuant to 18 U.S.C. §3145: Orders regarding bail prior tojudgment may
be appealed

Appeals pursuant to judicially created exceptions to the finality rule: Orders
denying motions to dismiss an indictment on grounds of double jeopardy or the
“speech and debate clause” are appealable Flanagan v. Untied States, 465 U.S. 259,
266, 104 S.Ct. 1051, 1055, 79 L.Ed.Zd 288 (1984).

Time for filing: The timely filing of a notice of appeal is mandatory and jurisdictional.
United States v. Grant, 256 F.3d 1146, 1150 (11‘h Cir. 2001). ln criminal cases,
' Fed.R.App.P. 4(b) and (c) set the following time limits:

(a)

(b)

(C)

rd)

Fed.R.App.P.4(b): A defendant’s notice of appeal must be filed in the district court
within 14 days after the entry either of the judgment or order appealed from, or the
filing of the government’s notice of appeal. If a defendant makes a timely motion
in the district court under the F ederal Rules of Criminal Procedure of a type specified
in Fed.R.App.P.4(b)(3), the notice of appeal from a judgment of conviction must be
filed within 14 days after the entry of the order disposing of the last such motion, or
within 14 days after the entry ofthej'udgment of conviction, whichever period ends
later. THE NOTICE MUST BE RECEIVED AND FILED IN THE DISTRICT
COURT NO LATER THAN THE LAST DAY OF THE APPEAL PERIOD ~
no additional days are provided for mailing. Special filing provisions for inmates
are discussed below.

Fed.R.App.P. 4(b)(1)(B): A notice of appeal by the United States must be filed
within 30 days after the entry of the judgment or order appealed from.

Fed.R.App.P. 4(b)(4): The district court may, upon a finding of excusable neglect
or good cause, extend the time to tile a notice of appeal for up to 30 days from the
expiration of the time otherwise prescribed in Fed.R.App.P.4.

Fed.R.App.P. 4(c): lf an inmate confined to an institution files a notice of appeal in
either a civil case or a criminal case, the notice of appeal is timely if it is deposited

 

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in the institution’s internal mail system on or before the last day for filing. Timely
filing may be shown by a declaration in compliance with 28 U.S.C. §1746 or a
notarized statement either of which must set forth the date of deposit and state that
first-class postage has been prepaid.

Format of the notice of appeal: Form l, Appendix of Forms to the Federal Rules of

Appellate Procedure, is a suitable format S_ee_ als_o Fed.R.App.P. 3(c). A pi_‘_Q §§ notice of
appeal must be signed by the appellant

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